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                                   UNITED STATES DISTRICT COURT
 1                               NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION
 2

 3
       FEDERAL TRADE COMMISSION,
 4
                  Plaintiff,
 5
             v.                                                Case No. 17-cv-00220-LHK-NMC
 6
       QUALCOMM INCORPORATED, a
 7     Delaware Corporation,
 8                Defendant.
 9

10     IN RE: QUALCOMM ANTITRUST                               Case No. 17-md-02773-LHK-NMC
       LITIGATION
11

12

13                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
14

15

16     IN RE: QUALCOMM LITIGATION                              Case No. 3:17-cv-00108-GPC-MDD
17

18

19        JOINT STIPULATION AND [PROPOSED] DISCOVERY COORDINATION ORDER
20
              WHEREAS the Parties desire to minimize the burden and expense of duplicative fact
21
       discovery across cases (without limiting or otherwise modifying the appropriate topics of discovery
22
       in each case); and
23
              WHEREAS the Parties agree that fact discovery in the above-captioned actions should be
24
       coordinated as provided herein;
25
              THE PARTIES THEREFORE STIPULATE AND AGREE AS FOLLOWS:
26
          1. For the purpose of this Order:
27

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 1                    a. “Apple” refers to Apple Inc.

 2                    b. “CMs” refers to Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision

 3                         Industry Co., Ltd., Pegatron Corporation, and Wistron Corporation.

 4                    c. “Contact Attorneys” refers to counsel designated by each Party and identified on

 5                         Schedule A.

 6                    d. “FTC” refers to the Federal Trade Commission.

 7                    e. “FTC Litigation” refers to Federal Trade Commission v. Qualcomm Incorporated,

 8                         Case No. 17-cv-00220-LHK (N.D. Cal.).

 9                    f.    “MDL Litigation” refers to In re Qualcomm Antitrust Litigation, Case No. 17-md-

10                         02773-LHK (N.D. Cal.), including all consolidated member cases (both current and

11                         any that may be transferred and consolidated in the future).

12                    g. “MDL Plaintiffs” refers collectively to the plaintiffs named in any consolidated or

13                         member case in the MDL Litigation, including in any consolidated complaint that is

14                         filed in the MDL Litigation.

15                    h. “ND Cal Litigation” refers collectively to the FTC Litigation and MDL Litigation.

16                    i. “Patents-In-Suit” means “Original Patents-in-Suit” as defined in the First Amended

17                         Complaint in the SD Cal Litigation (ECF No. 83).

18                    j. “Parties” or “Party” refers to the FTC, MDL Plaintiffs, Apple, the CMs, and

19                         Qualcomm.

20                    k. “Pending Cases” refers collectively to the FTC Litigation, the MDL Litigation, and

21                         the SD Cal Litigation.

22                    l. “Protective Orders” refers to the Protective Order and Supplemental Protective Orders

23                         in the FTC Litigation (ECF Nos. 81, 137, 205, 220, 230, 306, 324, 371, 374, 384, 388,

24                         392, 393, 410, 420, 430 and 447), the Protective Order and Supplemental Protective

25                         Orders in the MDL Litigation (ECF Nos. 46, 86, 148, 149, 182, 197, 211, 213, 216,

26                         218, 221, 244, 249 and 259), and the Protective Order in the SD Cal Litigation (ECF

27                         No. 163), in each case as may be supplemented and amended from time to time.

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
      Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
      Cal.), 17-cv-00108-GPC (S.D. Cal.), 17-cv-01010-GPC (S.D. Cal.)   2
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 1                    m. “Qualcomm” refers to Qualcomm Incorporated.

 2                    n. “SD Cal Litigation” refers to the consolidated cases Apple Inc. v. Qualcomm

 3                         Incorporated, Case No. 17-cv-00108-GPC (S.D. Cal.) and Qualcomm Incorporated v.

 4                         Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd.,

 5                         Pegatron Corporation, and Wistron Corporation, Case No. 17-cv-01010-GPC (S.D.

 6                         Cal.).

 7         2. Counsel for the Parties in each Pending Case shall be bound by this Order.

 8                                      COORDINATION OF WRITTEN DISCOVERY

 9         3. Any Party that serves or has served a written discovery request under Rule 31, 33, 34, or 36

10              on another Party in any of the Pending Cases shall provide a copy of the request to the

11              Contact Attorneys in each Pending Case, except insofar as such requests are served in the SD

12              Cal Litgation and relate solely to claims concerning the Patents-In-Suit in the SD Cal

13              Litigation.

14         4. Any Party that responds or has responded to a written discovery request in any of the Pending

15              Cases shall serve its response and produce any responsive materials to the Contact Attorneys

16              in each Pending Case, except insofar as such requests are served in the SD Cal Litigation and

17              relate solely to claims concerning the Patents-In-Suit in the SD Cal Litigation.

18         5. A Party (the “Issuing Party”) that serves, after issuance of this Order, a subpoena or other

19              request (including any request for international judicial assistance) for the production of

20              documents or other materials on a person or entity not a Party (“Non-Party”) to any Pending

21              Case shall promptly (a) provide a copy of the subpoena or other request to all Contact

22              Attorneys; (b) provide a copy of this Order and the Protective Orders in effect in each of the

23              Pending Cases to the Non-Party; (c) notify the Non-Party that, pursuant to this Order,

24              materials produced in response to such subpoena or other request will be produced in each

25              Pending Case, and (d) request that the Non-Party simultaneously produce materials to the

26              Contact Attorneys in each Pending Case. If, notwithstanding such request, the Non-Party

27              does not produce the materials to the Contact Attorneys in each Pending Case, the issuing

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
      Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
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 1              Party shall, as permitted by law, provide a copy of all materials produced pursuant to the

 2              subpoena or other request to the Contact Attorneys in each of the Pending Cases within five

 3              (5) calendar days after receipt of the materials from the Non-Party. If a Party has served a

 4              Non-Party subpoena or other document request prior to the issuance of this Order, the Issuing

 5              Party will provide a copy of the subpoena or other request to all Contact Attorneys, advise the

 6              Non-Party that the document production is to be shared across the Pending Cases and provide

 7              an opportunity of ten (10) days to object, and shall provide a copy of all materials produced

 8              pursuant to the subpoena or other request to the Contact Attorneys in each of the Pending

 9              Cases within five (5) calendar days after the later of (1) expiration of such ten (10) day

10              period, or (2) the Party’s receipt of materials from the Non-Party. If a Party modifies or

11              extends the time to respond to a Rule 45 document subpoena in writing, it shall promptly

12              inform Contact Attorneys in each Pending Case of that written extension or modification.

13              This paragraph shall not apply to a subpoena or other request served in the SD Cal Litigation

14              that relates solely to claims concerning the Patents-In-Suit in the SD Cal Litigation.

15         6. All written responses to discovery requests and subpoenas and materials provided in response

16              to discovery requests and subpoenas in any Pending Case shall be treated as having been

17              obtained through discovery in each Pending Case, except insofar as such responses and

18              materials relate solely to claims concerning the Patents-In-Suit in the SD Cal Litigation. Any

19              such materials shall be clearly designated “SD Cal Litigation Only.”

20                                             COORDINATION OF DEPOSITIONS

21         7. Pursuant to Fed. R. Civ. P. 30(a)(2)(A), leave is granted to all Parties to conduct in excess of

22              ten (10) depositions per side, provided that nothing in this Order shall prevent the FTC and

23              Qualcomm from entry into an agreement limiting the number of depositions to be noticed or

24              deemed taken in the FTC Litigation, or from seeking a court order imposing such a

25              limitation. For avoidance of doubt, this order supplants the deposition hours limitations set

26              forth in the September 11, 2017 Order Granting Joint Motion for Approval of Stipulation

27              Regarding Scheduling and Discovery Matters in the SD Cal Litigation (“September 11, 2017

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
      Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
      Cal.), 17-cv-00108-GPC (S.D. Cal.), 17-cv-01010-GPC (S.D. Cal.)   4
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 1              Order”), except insofar as a deposition relates solely to claims concerning the Patents-In-Suit

 2              in the SD Cal Litigation, in which case the party noticing the deposition shall so indicate in

 3              such notice and the September 11, 2017 Order will apply.

 4         8. Depositions subpoenaed, noticed, and/or taken in any of the Pending Cases shall be treated as

 5              if they were noticed and taken in each Pending Case (to the extent, absent agreement of the

 6              parties or leave of court, the deposition is taken during the court-ordered discovery period for

 7              the particular Pending Case), except insofar as a deposition relates solely to claims

 8              concerning the Patents-in-Suit in the SD Cal Litigation, in which case the party noticing the

 9              deposition shall indicate in such notice and/or during such deposition; provided that, absent a

10              Court order or agreement of the FTC and Qualcomm to the contrary, only depositions noticed

11              in the FTC Litigation shall be treated as having been noticed and taken in the FTC Litigation.

12         9. A Party issuing a deposition notice or subpoena or seeking a request for international judicial

13              assistance in obtaining testimony of any non-Party witness (the “Subpoenaing Party”) shall

14              provide at least five (5) days advance notice to Contact Attorneys in each Pending Case.

15              Other Parties shall be entitled to join the Subpoenaing Party’s notice, subpoena, or request by

16              notice to Contact Attorneys in each Pending Case within such five (5) day period. The

17              Parties also will preserve the right to add topics to any 30(b)(6) or similar subpoena or notice.

18              The Parties shall make reasonable good-faith efforts to coordinate the scheduling of the

19              deposition with each other and with any Non-Party witness, provided, however, that no Party

20              may unreasonably delay a deposition.

21         10. For Party depositions, prior to issuing a notice for a date certain, the noticing Party shall

22              notify the Contact Attorneys for all Parties of its intent to depose a particular witness, and

23              request available dates for the witness from counsel for the Party whose witness’s deposition

24              is sought. Within seven (7) days of receiving the request, the Party to whom such a request is

25              made shall provide at least one (1) proposed deposition date (i.e., one (1) set of two (2) days

26              for a fourteen (14) hour deposition) and use good faith efforts to provide two (2) proposed

27              deposition dates. For depositions of witnesses requested after entry of this Order, if any Party

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1              proposes only one (1) deposition date for a particular witness, it shall not propose any date

 2              that would require more than one (1) of its other witnesses to be deposed on the same date,

 3              absent agreement of all Parties. If other Parties intend to depose the same witness, they must

 4              provide notice to the Contact Attorneys for all Parties of such intent within seven (7) days of

 5              being notified that such witness’s deposition is being sought.1 If the Party whose witness is

 6              being sought for deposition is informed that multiple Parties intend to depose that witness,

 7              that Party shall provide deposition dates with sufficient time for questioning by multiple

 8              Parties. The noticing Party or Parties shall use their best efforts to schedule the deposition on

 9              a proposed deposition date mutually agreeable to all Parties. The Party whose witness’s

10              deposition is sought shall retain its right to formally object (by motion for protective order or

11              otherwise) to the taking of a particular deposition or to the timing or scope of such

12              deposition.

13         11. Counsel in any of the Pending Cases shall be entitled to attend depositions noticed in each

14              Pending Case, so long as they agree to be bound by the Protective Order entered in one of the

15              Pending Cases, except insofar as such depositions relate solely to claims concerning the

16              Patents-In-Suit in the SD Cal Litigation, in which case only counsel for Parties to the SD Cal

17              Litigation may attend. A Party’s in-house counsel bound by a protective order may attend

18              depositions of its current or former employees, and if the examining party intends to ask

19              questions about information produced in discovery that has been designated for outside

20              counsel only, the examining party shall indicate that it intends to ask about information so

21              designated, allowing the in-house counsel to excuse himself or herself for that portion of the

22              examination. Non-noticing counsel may ask questions and raise objections at depositions to

23              the extent allowed under the Federal Rules of Civil Procedure. The Parties shall meet and

24              confer in advance of each deposition to allocate deposition time, if necessary, and attempt to

25              coordinate a single Party to make objections. Any Party may avail itself of any objection to

26         1
            Note, for any deposition notice issued prior to the filing of this Proposed Order, the seven day
27     notice period starts from the filing of this Proposed Order.

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
      Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
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 1              the form of a question made by any other Party properly in attendance at a deposition without

 2              the need to be in attendance or express its joinder in the objection.

 3         12. The time limits on depositions established by Fed. R. Civ. P. 30(d)(1) shall apply to all

 4              depositions, except that in the event that a deposition of a Non-Party is noticed in both the

 5              ND Cal Litigation and the SD Cal Litigation, the Parties agree that, absent good cause, they

 6              will not oppose an extension of the time limit for that deposition to up to fourteen (14) hours

 7              of on-the-record questioning time. In any deposition of Qualcomm or a current or former

 8              Qualcomm employee in his or her individual capacity noticed in both the ND Cal Litigation

 9              and the SD Cal Litigation, the deposition time limit shall be extended to up to fourteen (14)

10              hours of on-the-record questioning time in total. In any deposition of Apple or a current or

11              former Apple employee in his or her individual capacity, or in any deposition of a CM or a

12              current or a former CM employee in his or her individual capacity noticed in both the ND Cal

13              Litigation and the SD Cal Litigation, the deposition time limit shall be extended to up to

14              fourteen (14) hours of on-the-record time in total.

15         13. A Party that was provided prior notice of a deposition (other than a deposition pursuant to

16              Fed. R. Civ. P. 30(b)(6)) in any Pending Case and did not make a contemporaneous request to

17              depose the witness may not, absent leave of Court, notice a second deposition of the same

18              witness in a Pending Case.

19         14. Notwithstanding the foregoing, to the extent documents relating to a Party’s witness are

20              produced by that Party either within the two week period prior to the commencement of a

21              witness’s deposition or after the commencement or completion of such witness’s deposition,

22              and such documents are material and non-cumulative of documents previously produced, the

23              parties shall as soon as practicable meet and confer to discuss whether to reschedule the

24              deposition, or re-open the deposition (to the extent it has already occurred). If the parties are

25              unable to agree, they shall jointly present the issue to the Court for resolution. With respect

26              to depositions of Apple or CM witnesses, this Paragraph supersedes the fourth sentence of

27

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
      Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
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 1              Paragraph 8(b) of the Stipulated Order Re: Discovery of Electronically Stored Information

 2              and Related Discovery Matters in the FTC Litigation (ECF No. 142).

 3                                                   PLEADINGS AND MOTIONS

 4         15. Any Party that serves or has served a pleading or motion on another Party in any Pending

 5              case shall serve an unredacted copy of the pleading or motion on the Contact Attorneys in

 6              each Pending Case, subject if necessary to the Protective Orders in those cases. This

 7              paragraph shall not apply to pleadings or motions served in the SD Cal Litigation that relate

 8              solely to claims concerning the Patents-In-Suit in the SD Cal Litigation.

 9                                PROTECTION OF CONFIDENTIAL INFORMATION

10         16. The Protective Order in effect in each Pending Case is hereby modified to permit the

11              disclosure and production of Protected Material (as defined therein) to the Contact Attorneys

12              in each Pending Case, and the further use and disclosure of such material by each Party

13              hereto in accordance with the Protective Order(s), including any Supplemental Protective

14              Order(s), in each Pending Case to which it is a Party.

15         17. The Protective Order or Supplemental Protective Order(s) in effect in each Pending Case

16              shall govern the handling by the Parties to such Pending Case of protected material produced

17              hereunder, and, unless modified by the designating party, confidentiality designations applied

18              in one Pending Case shall apply in all Pending Cases. To the extent there are conflicts among

19              the Protective Orders or Supplemental Protective Order(s) regarding the individual

20              employees of a Party who may access Protected Material, the Protective Order or

21              Supplemental Protective Order that applied to the original production of a particular

22              document designated as Protected Material shall control.

23         18. Effective upon its entry in all of the Pending Cases, this Order shall supersede in its entirety

24              the Joint Stipulation and Discovery Coordination Order currently in effect in the FTC

25              Litigation (ECF No. 207) and the MDL Litigation (ECF No. 131).

26

27

28
      [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
      Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
      Cal.), 17-cv-00108-GPC (S.D. Cal.), 17-cv-01010-GPC (S.D. Cal.)   8
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 1     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2

 3
       Dated: January 22, 2018
 4

 5
                                                                         By:    /s/ Jennifer Milici
 6                                                                             Jennifer Milici, D.C. Bar No. 987096
                                                                               Federal Trade Commission
 7                                                                             600 Pennsylvania Avenue, N.W.
                                                                               Washington, D.C. 20580
 8                                                                             (202) 326-2912; (202) 326-3496 (fax)
 9                                                                             jmilici@ftc.gov

10

11                                                                              Attorney for Plaintiff FEDERAL TRADE
                                                                                COMMISSION
12

13     Dated: January 22, 2018

14
                                                                         By:    /s/ Kalpana Srinivasan
15
                                                                                Kalpana Srinivasan
16                                                                              Marc M. Seltzer
                                                                                Steven G. Sklaver
17                                                                              Amanda Bonn
                                                                                Oleg Elkhunovich
18                                                                              Krysta Kauble Pachman
                                                                                SUSMAN GODFREY L.L.P.
19                                                                              1900 Avenue of the Stars, Suite 1400
                                                                                Los Angeles, CA 90067
20                                                                              Telephone: (310) 789-3100
                                                                                Facsimile: (310) 789-3006
21                                                                              Email: ksrinivasan@susmangodfrey.com
                                                                                Email: mmseltzer@susmangodfrey.com
22                                                                              Email: ssklaver@susmangodfrey.com
                                                                                Email: abonn@susmangodfrey.com
23                                                                              Email: oelkhunovich@susmangodfrey.com
                                                                                Email: kpachman@susmangodfrey.com
24
                                                                                Joseph Grinstein
25                                                                              SUSMAN GODFREY L.L.P.
                                                                                1000 Louisiana Street # 5100
26                                                                              Houston, TX 77002
                                                                                Telephone: (713) 651-9366
27                                                                              Facsimile: (713) 654-6666
                                                                                Email: jgrinstein@susmangodfrey.com
28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1                                                                              Joseph W. Cotchett
                                                                                Adam J. Zapala
 2                                                                              Brian Danitz
                                                                                Mark F. Ram
 3                                                                              Michael A. Montano
                                                                                Toriana S. Holmes
 4                                                                              COTCHETT, PITRE & MCCARTHY
                                                                                840 Malcolm Road, Suite 200
 5                                                                              Burlingame, CA 94010
                                                                                Telephone: (650) 697-6000
 6                                                                              Facsimile: (650) 697-0577
                                                                                Email: jcotchett@cpmlegal.com
 7                                                                              Email: azapala@cpmlegal.com
                                                                                Email: bdanitz@cpmlegal.com
 8                                                                              Email: mram@cpmlegal.com
                                                                                Email: mmontano@cpmlegal.com
 9                                                                              Email: tholmes@cpmlegal.com
10
                                                                                Plaintiffs’ Co-Lead Counsel
11
                                                                                Steve W. Berman
12                                                                              Jeff Friedman
                                                                                Rio Pierce
13                                                                              HAGENS BERMAN SOBOL SHAPIRO
                                                                                LLP
14                                                                              1918 Eighth Avenue, Suite 3300
                                                                                Seattle, WA 98101
15                                                                              Telephone: (206) 268-9320
                                                                                Facsimile: (206) 623-0594
16                                                                              Email: steve@hbsslaw.com
                                                                                Email: jefff@hbsslaw.com
17                                                                              Email: riop@hbsslaw.com
18
                                                                                Plaintiffs’ Steering Committee
19

20
       Dated: January 22, 2018
21

22                                                                       By:    /s/ Seth M. Sproul
23                                                                              Juanita R. Brooks (SBN 75934)
                                                                                Seth M. Sproul (SBN 217711)
24                                                                              FISH & RICHARDSON P.C.
                                                                                12390 El Caamino Real
25                                                                              San Diego, CA 92130
                                                                                Telephone: 858-678-5070
26                                                                              Facsimile: 858-678-5099
                                                                                Email: brooks@fr.com
27                                                                              Email: sproul@fr.com
28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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                                                                               Ruffin B. Cordell (admitted pro hac vice)
 1                                                                             Lauren A. Degnam (admitted pro hac vice)
                                                                               FISH & RICHARDSON P.C.
 2                                                                             The McPherson Building
                                                                               901 15th Street, N.W., 7th Floor
 3                                                                             Washington, D.C. 20005
                                                                               Telephone: 202-783-5070
 4                                                                             Facsimile: 202-783-2331
                                                                               Email: cordell@fr.com
 5                                                                             Email: degnan@fr.com
 6                                                                             William A. Isaacson (admitted pro hac vice)
                                                                               Karen L. Dunn (admitted pro hac vice)
 7                                                                             Amy J. Mauser (admitted pro hac vice)
                                                                               BOIES SCHILLER FLEXNER LLP
 8                                                                             1401 New York Avenue, N.W.
                                                                               Washington, D.C. 20005
 9                                                                             Telephone: 202-237-2727
                                                                               Facsimile: 202-237-6131
10                                                                             Email: wisaascson@bsfllp.com
                                                                               Email: kdunn@bsfllp.com
11                                                                             Email: amauser@bsfllp.com
12                                                                             Attorneys for APPLE INC.
13

14     Dated: January 22, 2018
15
                                                                         By:   /s/ Jason C. Lo
16

17                                                                             Theodore J. Boutrous, Jr. (SBN 132099)
                                                                               Daniel G. Swanson (SBN 116556)
18                                                                             Jason C. Lo (SBN 219030)
                                                                               Jennifer J. Rho (SBN 254312)
19                                                                             Melissa Phan (SBN 266880)
                                                                               GIBSON, DUNN & CRUTCHER LLP
20                                                                             333 South Grand Avenue
                                                                               Los Angeles, CA 90071
21                                                                             Telephone: (213) 229-7000
                                                                               Facsimile: (213) 229-7520
22                                                                             Email: tboutrous@gibsondunn.com
                                                                               Email: dswanson@gibsondunn.com
23                                                                             Email: jlo@gibsondunn.com
                                                                               Email: jrho@gibsondunn.com
24                                                                             Email: mphan@gibsondunn.com

25                                                                             Cynthia E. Richman (admitted pro hac vice)
                                                                               GIBSON, DUNN & CRUTCHER LLP
26                                                                             1050 Connecticut Avenue, N.W.
                                                                               Washington, D.C. 20036
27                                                                             Telephone: (202) 955-8500
                                                                               Facsimile: (202) 467-0539
28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
       Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
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                                                                               Email: crichman@gibsondunn.com
 1
                                                                               Attorneys for COMPAL ELECTRONICS,
 2                                                                             INC., FIH MOBILE LTD., HON HAI
                                                                               PRECISION INDUSTRY CO., LTD.,
 3                                                                             PEGATRON CORPORATION, and
                                                                               WISTRON CORPORATION
 4
                                                                               Hugh F. Bangasser (admitted pro hac vice)
 5                                                                             Christopher M. Wyatt (admitted pro hac
                                                                               vice)
 6                                                                             J. Timothy Hobbs (admitted pro hac vice)
                                                                               K&L GATES LLP
 7                                                                             925 Fourth Avenue, Suite 2900
                                                                               Seattle, WA 98104
 8                                                                             Telephone: 206-623-7580
                                                                               Facsimile: 206-370-6371
 9                                                                             Email: hugh.bangasser@klgates.com
                                                                               Email: tim.hobbs@klgates.com
10
                                                                               Attorneys for WISTRON CORPORATION
11

12

13     Dated: January 22, 2018
14
                                                                         By:   /s/ Evan R. Chesler
15

16                                                                             Evan R. Chesler
                                                                               Richard J. Stark
17                                                                             Antony L. Ryan
                                                                               Gary A. Bornstein
18                                                                             J. Wesley Earnhardt
                                                                               Yonatan Even
19                                                                             Vanessa A. Lavely
                                                                               CRAVATH, SWAINE & MOORE LLP
20                                                                             Worldwide Plaza
                                                                               825 Eighth Avenue
21                                                                             New York, NY 10019
                                                                               Tel: (212) 474-1000
22                                                                             Fax: (212) 474-3700
                                                                               echesler@cravath.com
23                                                                             rstark@cravath.com
                                                                               aryan@cravath.com
24                                                                             gbornstein@cravath.com
                                                                               wearnhardt@cravath.com
25                                                                             yeven@cravath.com
                                                                               vlavely@cravath.com
26
                                                                               Karen P. Hewitt
27                                                                             Randall E. Kay
                                                                               Kelly V. O’Donnell
28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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                                                                              JONES DAY
 1                                                                            4655 Executive Drive, Suite 1500
                                                                              San Diego, California 92121
 2                                                                            Tel: (858) 314-1200
                                                                              Fax: (844) 345-3178
 3                                                                            kphewitt@jonesday.com
                                                                              rekay@jonesday.com
 4                                                                            kodonnell@jonesday.com
 5                                                                            Robert A. Van Nest
                                                                              Asim M. Bhansali
 6                                                                            Eugene M. Paige
                                                                              Matan Shacham
 7                                                                            Justina Sessions
                                                                              David W. Rizk
 8                                                                            Alexander Dryer
                                                                              KEKER, VAN NEST & PETERS LLP
 9                                                                            633 Battery Street
                                                                              San Francisco, CA 94111
10                                                                            Tel: (415) 391-5400
                                                                              Fax: (415) 397-7188
11                                                                            rvannest@keker.com
                                                                              abhansali@keker.com
12                                                                            epaige@keker.com
                                                                              mshacham@keker.com
13                                                                            jsessions@keker.com
                                                                              drizk@keker.com
14                                                                            adryer@keker.com
15                                                                            Richard S. Taffet
                                                                              MORGAN, LEWIS & BOCKIUS LLP
16                                                                            101 Park Avenue
                                                                              New York, NY 10178-0060
17                                                                            Tel: (212) 309-6000
                                                                              Fax: (212) 309-6001
18                                                                            richard.taffet@morganlewis.com
19                                                                            Willard K. Tom
                                                                              MORGAN, LEWIS & BOCKIUS LLP
20                                                                            1111 Pennsylvania Ave. NW
                                                                              Washington, DC 20004-2541
21                                                                            Tel: (202) 739-3000
                                                                              Fax: (202) 739 3001
22                                                                            willard.tom@morganlewis.com
23                                                                            Donn P. Pickett
                                                                              Geoffrey T. Holtz
24                                                                            MORGAN, LEWIS & BOCKIUS LLP
                                                                              One Market, Spear Street Tower
25                                                                            San Francisco, CA 94105-1126
                                                                              Tel: (415) 442-1000
26                                                                            Fax: (415) 442-1001
                                                                              donn.pickett@morganlewis.com
27                                                                            geoffrey.holtz@morganlewis.com
28
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                                                                              Richard S. Zembek
 1                                                                            Daniel S. Leventhal
                                                                              Talbot Hansum
 2                                                                            Eric B. Hall
                                                                              NORTON ROSE FULBRIGHT US LLP
 3                                                                            1301 McKinney, Suite 5100
                                                                              Houston, Texas 77010
 4                                                                            Tel: (713) 651-5151
                                                                              richard.zembek@nortonrosefulbright.com
 5                                                                            daniel.leventhal@nortonrosefulbright.com
                                                                              talbot.hansum@nortonrosefulbright.com
 6                                                                            eric.hall@nortonrosefulbright.com
 7                                                                            David A. Nelson
                                                                              Stephen Swedlow
 8                                                                            QUINN EMANUEL URQUHART &
                                                                              SULLIVAN, LLP
 9                                                                            500 West Madison St., Suite 2450
                                                                              Chicago, Illinois 60661
10                                                                            Tel: (312) 705-7400
                                                                              Fax: (312) 705-7401
11                                                                            davenelson@quinnemanuel.com
                                                                              stephenswedlow@quinnemanuel.com
12
                                                                              Alexander Rudis
13                                                                            QUINN EMANUEL URQUHART &
                                                                              SULLIVAN, LLP
14                                                                            51 Madison Ave., 22nd Floor
                                                                              New York, NY 10010
15                                                                            Tel: (212) 849-7000
                                                                              Fax: (212) 849-7100
16                                                                            alexanderrudis@quinnemanuel.com
17                                                                            Sean S. Pak
                                                                              QUINN EMANUEL URQUHART &
18                                                                            SULLIVAN, LLP
                                                                              50 California St., 22nd Floor
19                                                                            San Francisco, California 94111
                                                                              Tel: (415) 875-6600
20                                                                            Fax: (415) 875-6700
                                                                              seanpak@quinnemanuel.com
21
                                                                              Attorneys for QUALCOMM
22                                                                            INCORPORATED
23

24

25

26

27

28
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 2     I, James W. Carlson, am the ECF user whose identification and password are being used to file this

 3     Joint Stipulation and Discovery Coordination Order. In compliance with Civil Local Rule 5-1(i)(3),

 4     I hereby attest that the signatories on this document have concurred in this filing.

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 7                                                                       By:   /s/ James W. Carlson

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                                                                  SCHEDULE A
 1

 2
       Federal Trade Commission v. Qualcomm Incorporated, Case No. 17-cv-00220-LHK (N.D. Cal.)
 3
       Plaintiff Federal Trade Commission
 4

 5               Jennifer Milici, jmilici@ftc.gov
                 J. Alexander Ansaldo, jansaldo@ftc.gov
 6               Joseph R. Baker, jbaker1@ftc.gov
                 Wesley G. Carson, wcarson@ftc.gov
 7               Elizabeth A. Gillen, egillen@ftc.gov
                 Daniel Matheson, dmatheson@ftc.gov
 8               FEDERAL TRADE COMMISSION
 9               600 Pennsylvania Avenue, N.W.
                 Washington, D.C. 20580
10

11     Defendant Qualcomm Incorporated
12
                 Gary A. Bornstein, gbornstein@cravath.com
13               J. Wesley Earnhardt, wearnhardt@cravath.com
                 Yonatan Even, yeven@cravath.com
14               Vanessa A. Lavely, vlavely@cravath.com
15               Stefan H. Atkinson, satkinson@cravath.com
                 James W. Carlson, jcarlson@cravath.com
16               CRAVATH, SWAINE & MOORE LLP
                 Worldwide Plaza
17               825 Eighth Avenue
                 New York, NY 10019
18

19               Robert A. Van Nest, rvannest@keker.com
                 Asim M. Bhansali, abhansali@keker.com
20               Eugene M. Paige, epaige@keker.com
                 Matan Shacham, mshacham@keker.com
21               Justina Sessions, jsessions@keker.com
                 David W. Rizk, drizk@keker.com
22
                 Alexander Dryer, adryer@keker.com
23               KEKER, VAN NEST, & PETERS LLP
                 633 Battery Street
24               San Francisco, CA 94111-1809

25               Richard S. Taffet, richard.taffet@morganlewis.com
                 MORGAN, LEWIS & BOCKIUS LLP
26
                 101 Park Avenue
27               New York, NY 10178-0060

28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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                 Willard K. Tom, willard.tom@morganlewis.com
 1               MORGAN, LEWIS & BOCKIUS LLP
 2               1111 Pennsylvania Ave. NW
                 Washington, DC 20004-2541
 3
                 Donn P. Pickett, donn.pickett@morganlewis.com
 4               Geoffrey T. Holtz, geoffrey.holtz@morganlewis.com
                 MORGAN, LEWIS & BOCKIUS LLP
 5
                 One Market, Spear Street Tower
 6               San Francisco, CA 94105-1126

 7               Richard S. Zembek, richard.zembek@nortonrosefulbright.com
                 Daniel S. Leventhal, daniel.leventhal@nortonrosefulbright.com
 8               Talbot Hansum, talbot.hansum@nortonrosefulbright.com
                 Eric B. Hall, eric.hall@nortonrosefulbright.com
 9
                 NORTON ROSE FULBRIGHT
10               1301 McKinney, Suite 5100
                 Houston, Texas 77010
11
       In re Qualcomm Antitrust Litigation, Case No. 17-md-02773-LHK (N.D. Cal.)
12
       Plaintiffs’ Interim Co-Lead Counsel
13
                 Kalpana Srinivasan
14               Marc M. Seltzer
                 Steven G. Sklaver
15               Amanda Bonn
                 Oleg Elkhunovich
16               Krysta Kauble Pachman
                 SUSMAN GODFREY L.L.P.
17               1900 Avenue of the Stars, Suite 1400
                 Los Angeles, CA 90067
18               Telephone: (310) 789-3100
                 Facsimile: (310) 789-3150
19               Email: ksrinivasan@susmangodfrey.com
                 Email: mseltzer@susmangodfrey.com
20               Email: ssklaver@susmangodfrey.com
                 Email: abonn@susmangodfrey.com
21               Email: oelkhunovich@susmangodfrey.com
                 Email: kpachman@susmangodfrey.com
22

23               Joseph Grinstein
                 SUSMAN GODFREY L.L.P.
24               1000 Louisiana Street, Suite 5100
                 Houston, TX 77002
25               Telephone: (713) 651-9366
                 Facsimile: (713) 654-6666
26               Email: jgrinstein@susmangodfrey.com

27

28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
       Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.     -2-
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                 Joseph W. Cotchett
 1               Adam J. Zapala
                 Brian Danitz
 2               Mark F. Ram
                 Michael A. Montano
 3               Toriana S. Holmes
                 COTCHETT, PITRE & MCCARTHY
 4               840 Malcolm Road, Suite 200
                 Burlingame, CA 94010
 5               Telephone: (650) 697-6000
                 Facsimile: (650) 697-0577
 6               Email: jcotchett@cpmlegal.com
                 Email: azapala@cpmlegal.com
 7               Email: bdanitz@cpmlegal.com
                 Email: mram@cpmlegal.com
 8               Email: mmontano@cpmlegal.com
                 Email: tholmes@cpmlegal.com
 9
       Plaintiffs’ Steering Committee
10
                 Steve W. Berman
11               Jeff Friedman
                 Rio Pierce
12               HAGENS BERMAN SOBOL SHAPIRO LLP
                 1918 Eighth Avenue, Suite 3300
13               Seattle, WA 98101
                 Telephone: (206) 268-9320
14               Facsimile: (206) 623-0594
                 Email: steve@hbsslaw.com
15               Email: jefff@hbsslaw.com
                 Email: riop@hbsslaw.com
16
       Defendant Qualcomm Incorporated
17

18               Gary A. Bornstein, gbornstein@cravath.com
                 J. Wesley Earnhardt, wearnhardt@cravath.com
19               Yonatan Even, yeven@cravath.com
                 Vanessa A. Lavely, vlavely@cravath.com
20
                 Stefan H. Atkinson, satkinson@cravath.com
21               James W. Carlson, jcarlson@cravath.com
                 CRAVATH, SWAINE & MOORE LLP
22               Worldwide Plaza
                 825 Eighth Avenue
23               New York, NY 10019
24
                 Robert A. Van Nest, rvannest@keker.com
25               Asim M. Bhansali, abhansali@keker.com
                 Eugene M. Paige, epaige@keker.com
26               Justina Sessions, jsessions@keker.com
                 David W. Rizk, drizk@keker.com
27               Alexander Dryer, adryer@keker.com
28
       [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
       Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.     -3-
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                 KEKER, VAN NEST, & PETERS LLP
 1               633 Battery Street
 2               San Francisco, CA 94111-1809

 3               Richard S. Taffet, richard.taffet@morganlewis.com
                 MORGAN, LEWIS & BOCKIUS LLP
 4               101 Park Avenue
                 New York, NY 10178-0060
 5

 6               Willard K. Tom, willard.tom@morganlewis.com
                 MORGAN, LEWIS & BOCKIUS LLP
 7               1111 Pennsylvania Ave. NW
                 Washington, DC 20004-2541
 8

 9     Apple Inc. v. Qualcomm Incorporated, Case No. 17-cv-00108-GPC (S.D. Cal.) and Qualcomm
       Incorporated v. Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd.,
10     Pegatron Corporation, and Wistron Corporation, Case No. 17-cv-01010-GPC (S.D. Cal.)
11

12     Plaintiff and Counterclaim Defendant Apple Inc.

13               Amy J. Mauser
14               BOIES SCHILLER FLEXNER LLP
                 1401 New York Avenue, N.W.
15               Washington, D.C. 20005
                 Phone: 202-237-2727
16               Email: amauser@bsfllp.com
17               Benjamin C. Elacqua
18               FISH & RICHARDSON LLP
                 1221 McKinney Street, Suite 2800
19               Houston, TX 77010
                 Phone: 713-654-5300
20               Email: Elacqua@fr.com
21
                 Apple_Qualcomm_Service@bsfllp.com
22
                 Apple/QualcommFRService@fr.com
23

24     Defendants and Counterclaim Plaintiffs Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai
       Precision Industry Co., Ltd., Pegatron Corporation, and Wistron Corporation
25
                 Jason Lo, jlo@gibsondunn.com
26               Jennifer Rho, jrho@gibsondunn.com
                 Ryan Iwahashi, riwahashi@gibsondunn.com
27               CHPW-1010@gibsondunn.com

28
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       Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.     -4-
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          2:20-cv-02892-SHL-tmp
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 1     Defendant and Counterclaim Plaintiff Qualcomm Incorporated

 2               Gary A. Bornstein, gbornstein@cravath.com
                 J. Wesley Earnhardt, wearnhardt@cravath.com
 3
                 Yonatan Even, yeven@cravath.com
 4               Vanessa A. Lavely, vlavely@cravath.com
                 Stefan H. Atkinson, satkinson@cravath.com
 5               James W. Carlson, jcarlson@cravath.com
                 CRAVATH, SWAINE & MOORE LLP
 6               Worldwide Plaza
 7               825 Eighth Avenue
                 New York, NY 10019
 8
                 David A. Nelson, davenelson@quinnemanuel.com
 9               Stephen Swedlow, stephenswedlow@quinnemanuel.com
                 Marc L. Kaplan, marckaplan@quinnemanuel.com
10               QUINN EMANUEL URQUHART & SULLIVAN, LLP
                 500 West Madison St., Suite 2450
11               Chicago, Illinois 60661

12               Michael L. Fazio, michaelfazio@quinnemanuel.com
                 Joseph C. Sarles, josephsarles@quinnemanuel.com
13               QUINN EMANUEL URQUHART & SULLIVAN, LLP
                 865 S. Figueroa St., 10th Floor
14               Los Angeles, CA 90017

15               Alexander Rudis, alexanderrudis@quinnemanuel.com
                 QUINN EMANUEL URQUHART & SULLIVAN, LLP
16               51 Madison Ave., 22nd Floor
                 New York, NY 10010
17
                 Sean S. Pak, seanpak@quinnemanuel.com
18               QUINN EMANUEL URQUHART & SULLIVAN, LLP
                 50 California St., 22nd Floor
19               San Francisco, California 94111

20               Karen P. Hewitt, kphewitt@jonesday.com
                 Randall E. Kay, rekay@jonesday.com
21               Kelly V. O’Donnell, kodonnell@jonesday.com
                 JONES DAY
22               4655 Executive Drive, Suite 1500
                 San Diego, California 92121
23
                 Richard S. Zembek, richard.zembek@nortonrosefulbright.com
24               Daniel S. Leventhal, daniel.leventhal@nortonrosefulbright.com
                 Talbot Hansum, talbot.hansum@nortonrosefulbright.com
25               Eric B. Hall, eric.hall@nortonrosefulbright.com
                 NORTON ROSE FULBRIGHT
26
                 1301 McKinney, Suite 5100
27               Houston, Texas 77010

28
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